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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       LUBBOCK DIVISION

IN RE:                                                                                         Chapter 13
    NATHAN RYAN SAWYER
                                                                                      Case No: 18-50248

    Debtor                                                                             Dated: 10/10/2018

DEBTOR ATTORNEY: Seth Crosland


                TRUSTEE’S NOTICE OF INTENT TO CERTIFY CHAPTER 13 CASE
         FOR DISMISSAL PURSUANT TO GENERAL ORDER 2017-01 (Section 3. b, c & d-1)

Notice is hereby given to the above named Debtor and Debtor Attorney that the Trustee intends to certify
the above named Chapter 13 case for Dismissal on October 17, 2018 for the reasons noted below:

    Debtor did not pay to the Trustee the first payment due in the amount of $1,109.20 within 30 days of
    the petition date. General Order 2017-01 (3)(c).

FAILURE TO CURE ANY OR ALL OF THE DEFICIENCIES NOTED ABOVE WITHIN 7 DAYS OF THE DATE OF THIS NOTICE
SHALL SUBJECT THIS PETITION TO DISMISSAL BY THE BANKRUPTCY CLERK WITHOUT FURTHER NOTICE PURSUANT
TO GENERAL ORDER 2017-01 SECTION 3. b, c & d-1.



/s/ Marc McBeath
Marc McBeath, Bar # 13328600
Staff Attorney
Robert B. Wilson, Bar # 21715000
Chapter 13 Trustee
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                                        CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Trustee’s Notice of Intent to Certify Chapter
13 Case for Dismissal was this date served on the following parties electronically or at the addresses
listed below by U.S. First Class mail:

NATHAN RYAN SAWYER                                        Seth Crosland
2504 42nd St                                              Crosland Law Firm, PLLC
Lubbock, TX 79413-3218                                    1848 NORWOOD PLAZA
                                                          SUITE 205B
                                                          HURST, TX 76054

WILLIAM T NEARY
UNITED STATES TRUSTEE
1100 COMMERCE STREET RM 976
DALLAS, TX 75242


Date: 10/10/2018                                       /s/ Marc McBeath
                                                       Marc McBeath, Staff Attorney
                                                       Robert B. Wilson, Trustee
